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Dear, Your Honor,

         My name is Annette Cox and I am writing this on behalf of myself and my husband Eddie
Cox. Mark Holdren is our ex son-in-law. He dated our daughter for 3 years before they were
married for 17 years. In our time knowing Mark, we know that the crucial mistakes that he made
are not a true representation of his character. We are aware that these mistakes will never be
taken back and we do not condone the things that he did. With this being said, we know that this
is not truly who Mark is and that he is making an attempt to correct his wrongs as much as he
can.
         When he started dating our daughter he had a job, and worked throughout our 20 years
of knowing him. Eddie and I love Mark like a true son and even allowed him to live with us
before he and our daughter were married so he could finish high school. His parents both lived
out of state and Mark did not want to leave his school, girlfriend, friends, and the place that he
knew as home. Throughout his time living with us, he helped my husband immensely with yard
work, anything mechanical involving our vehicles, building storage sheds in the yard, and
anything else my husband asked of him. There were even times when Mark helped me in the
kitchen with cooking our meals.
         Mark used to pull pranks on Eddie and I constantly. Not a day went by where we were
not on our toes, but everything he ever did was harmless, although it did annoy us at times. This
humor that Mark has is unforgettable and innocent, there was never any malicious intent behind
anything he did.
         My husband and I watched Mark raise our grandchildren and he was always a terrific
father. He taught them both how to fish, hunt, play sports, ride four-wheelers, and more. His
ability to parent our grandchildren, Haley and Konnor, showed us how soft of a heart he has. I
remember his and my daughters wedding day and the moment Mark laid eyes on Heather, he
began to cry. He bawled as she walked down the aisle and we knew that he had a good heart.
         We hope that you take all of this into consideration when deciding Mark’s punishment.
We know that he made unforgivable mistakes, and he knows this too. We ask as parents, and
as grandparents, please show mercy on Mark. If not on behalf of us, on behalf of our
grandchildren who miss their father deeply every day.

Thank you for your time,
Eddie and Annette Cox
